                     UNITED STATES DISTRICT COURT FOR
                    WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )
                                    )                     3:05CR400-11-FDW
                                    )
                                    )
       vs.                          )
                                    )
                                    )
Joshua Grimes                       )
                                    )
                 Defendant.         )
                                    )




         Order Related to Affidavit Issue Referenced in Document 168

It appears to the court that the two parties to the previously scheduled hearing, see prior
order-document 168, Joshua Grimes and the United States, have reached a joint
resolution to this issue. Therefore, it appears that this issue is moot and the
October 23, 2007 hearing is hereby canceled.

                                           Signed: October 19, 2007




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